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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

David Bowles A
Plaintiff,

 

8:17-cv-01877-TJS

Vv. Case No.

 

Diamond State Trucking, Inc., et al.

 

Defendant. *
GENERAL CONSENT TO PROCEED
BEFORE A UNITED STATES MAGISTRATE JUDGE
In accordance with the provisions of 28 U.S.C. § 636(c), the undersigned party to the
above-captioned civil matter hereby voluntarily waives the right to proceed before a United
States District Judge and consents to have a United States Magistrate Judge conduct any and all

further proceedings in the case, including trial, and order the entry of a final judgment.
i,

July 28, 2017 fag Abi—

Date Signatdte of Party or Counsel

Brigitte J. Smith

Printed Name

 

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MagistrateGeneralConsentC V (06/2016)
